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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

JOHN CANNING,                              )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )     CIVIL ACTION NO.
                                           )     1:22cv00339-TWT
                                           )
SHIRLEY JACKSON, et al.,                   )
                                           )
      Defendants.                          )

     DEFENDANTS BOBBITT, WICKER, EDWARDS, WARD, HOLT,
       TOOLE, SHEPARD, AND SAULS’ MOTION TO DISMISS

      Defendants Trevonza Bobbitt, Josh Wicker, Deidra Edwards, Timothy

Ward, Ahmed Holt, Robert Toole, Stan Shepard, and Jack Sauls, pursuant to

Federal Rules of Civil Procedure 8, 10, and 12(b)(6), move this Court to dismiss

this matter for failure to properly plead the case and failure to state a claim

upon which relief may be granted. These Defendants submit a brief in support

of this motion.
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     Respectfully submitted this 26th of April, 2022.

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                                   Attorney General

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                                   Deputy Attorney General

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                                   Senior Assistant Attorney General

                                   /s/ Laura L. Lones
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                                   Senior Assistant Attorney General

                                   Attorneys for Defendants Bobbitt, Wicker,
                                   Edwards, Ward, Holt, Toole, Shepard, and
                                   Sauls
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                      CERTIFICATE OF SERVICE

      I hereby certify that on this date I electronically filed DEFENDANTS

BOBBITT, WICKER, EDWARDS, WARD, HOLT, TOOLE, SHEPARD, AND

SAULS’ MOTION TO DISMISS with the Clerk of Court using the CM/ECF

system which will automatically send email notification of such filing to all

counsel of record.



      This 26th day of April, 2022.

                                          /s/ Laura L. Lones
                                          Senior Assistant Attorney General



                          CERTIFICATION AS TO FONT


      Pursuant to Local Rule 7.1D, I hereby certify that this motion is submitted

in Century Schoolbook 13 point type as required by Local Rule 5.1(b).


                                          /s/ Laura L. Lones
                                          Senior Assistant Attorney General
